
The prisoner was indicted, tried, and convicted, at the Superior Court of Law for Campbell county, of murder in the second degree, of a slave: after the verdict, he offered the following plea in arrest of judgment : “ The prisoner, in his proper person, comes and prays the Court that judgment on the verdict aforesaid may not be entered up, but that the same may be stayed and arrested, for the following reasons, to wit: That he has not had, as by Law he ought to have had, a new trial for the offence charged in *184the ^Indictment, by a Court of Examination possessing- jurisdiction of the said offence, as the Corporation Court of Lynchburg, in which he was examined, has not, by the Act of Incorporation, jurisdiction in Criminal Cases; particularly of the offence charged in the Indictment, nor has the said Corporation Court jurisdiction of the said Case, by any Law prior or subsequent to the said Act of Incorporation.” The Superior Court adjourned the following questions to this Court. 1. Has the Corporation Court of Lynchburg jurisdiction to hear and examine, as County Courts have, cases of felony committed within the jurisdiction and limits of said Corporation ? 2. If. not, what further proceedings ought to be had in this Court respecting, the prisoner ?”
The General Court did not decide the question made in the Court below, but entered the following judgment:
“This Court is unanimously of opinion, that the plea of errors in arrest of judgment, is not sufficient to arrest said judgment, inasmuch as it suggests matter making no part of the record, but matter which, if true, is proper for a plea'in abatement, or for a motion to quash the Indictment, and therefore the questions propounded do not arise, and ■ of course are pot decided; which is ordered to be certified. ”
